Case: 5:19-cv-00394-KKC-EBA       Doc #: 172 Filed: 11/25/24             Page: 1 of 1 - Page
                                     ID#: 3917




                                           Form 1A

                      Notice of Appeal to a Court of Appeals From a
                               Judgment of a District Court

                      United States District Court for the __________
                                  District of __________
                               Docket Number __________




                 v.                                   Notice of Appeal

                              , Defendant

                _____________ (name all parties taking the appeal) appeal
                to the United States Court of Appeals for the _____ Circuit
                from the final judgment entered on ________ (state the date
                the judgment was entered).


                                (s) _________________________________
                                    Attorney for _______________________
                                   Address: __________________________


                [Note to inmate filers: If you are an inmate confined in an
                institution and you seek the timing benefit of Fed. R. App. P.
                4(c)(1), complete Form 7 (Declaration of Inmate Filing) and
                file that declaration with this Notice of Appeal.]




                 See Rule 3(c) for permissible ways of identifying appellants.
